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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                     ) Chapter 11
                                                           )


W. R. GRACE & CO., et al.’                                 ) Case No. 01-0113 9 (KJC)
                                                           ) (Jointly Administered)
                          Debtors.                         )
                                                           )   Hearing Date: January 29, 2014 at 10:00 a.m.
                                                               Objection Deadline: January 22, 2014 at 4:00 p.m.



        NOTICE OF MOTION FOR ENTRY OF AN ORDER AUTHORIZING
   THE DEBTORS TO (A) ENTER INTO THE EXIT FINANCING COMMITMENT
 AND ENGAGEMENT LETTER AND THE FEE LETTERS, (B) PAY CERTAIN FEES,
  INDEMNITIES, COSTS AND EXPENSES IN CONNECTION THEREWITH, AND
   (C) FILE THE COMMITMENT AND ENGAGEMENT LETTER AND THE FEE
                        LETTERS UNDER SEAL


TO: Parties required to receive notice pursuant to Del. Bankr. LR 200 1-1.

                 On January 7, 2014, the above-captioned debtors and debtors-in-possession

(collectively, the "Debtors") filed the attached Motion for Entry of an Order Authorizing the



    The Debtors consist of the following 62 entities: W. R. Grace & Co. (17k/a Grace Specialty Chemicals, Inc.), W.
    R. Grace & Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/kla Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a
    Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (17k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/ic/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (17k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, and H-G Coal Company.
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Debtors to (A) Enter into the Exit Financing Commitment and Engagement Letter and the Fee

Letters, (B) Pay Certain Fees, Indemnities, Costs and Expenses in Connection Therewith, and

(C) File the Commitment and Engagement Letter and the Fee Letters under Seal (the "Motion")

with the United States Bankruptcy Court for the District of Delaware, 824 Market Street,

Wilmington, Delaware 19801 (the "Bankruptcy Court"). A true and correct copy of the Motion

is attached hereto.

                Responses to the relief requested in the Motion, if any, must be in writing and be

filed with the Bankruptcy Court no later than 4:00 p.m. (prevailing Eastern time) on   January 22,

2014. At the same time, you must also serve a copy of the objections or responses, if any, upon

the following: (i) co-counsel for the Debtors, Adam Paul, Kirkland & Ellis LLP, 300 N. LaSalle,

Chicago, IL, 60654 (fax 312-862-2200); and James E. O’Neill, Pachulski Stang Ziehl & Jones

LLP, 919 North Market Street, 17th Floor, P.O. Box           8705, Wilmington, DE 19899-8705

(Courier 19801) (fax 302-652-4400); (ii) counsel to the Official Committee of Unsecured

Creditors, Kenneth Pasquale, Stroock & Stroock & Lavan LLP, 180 Maiden Lane, New York,

NY 10038-4982 (fax 212-806-6006), and Michael R. Lastowski, Duane Morris LLP, 222

Delaware Avenue, Suite 1600, Wilmington, DE 19801-1659 (fax 302-657-4901); (iii) counsel to

the Official Committee of Asbestos Property Damage Claimants, Jay Sakalo, Bilzin Sumberg

Baena Price & Axelrod LLP, 1450 Brickell Avenue, 23rd Floor, Miami, FL 33131-3456 (fax

305-374-7593), and Michael B. Joseph, Ferry, Joseph & Pearce P.A., 824 Market Street, Suite

1000, P.O. Box 1351, Wilmington, DE 19899 (fax 302-575-1714); (iv) counsel to the Official

Committee of Asbestos Personal Injury Claimants, Peter Lockwood, Caplin & Drysdale, One

Thomas Circle, NW, Suite 1100, Washington, D.C. 20005 (fax 202-429-3301), and Marla Eskin,

Campbell & Levine, LLC, 222 Delaware Avenue, Suite 1620, Wilmington, DE 19801 (fax 302-



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426-9947); (v) counsel to the Official Committee of Equity Holders, Philip Bentley, Kramer

Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, NY 10036 (fax 212-

715-8000), and Teresa K.D. Currier, Saul Ewing LLP, 222 Delaware Avenue, Suite 1200, P.O.

Box 1266, Wilmington, DE 19899 (fax 302-421-6813); (vi) counsel to the Asbestos P1 Future

Claimants’ Representative, Richard H. Wyron, Orrick, Herrington & Sutcliffe LLP, 1152 15th

Street, NW, Washington, DC 20005-1706 (fax 202-339-8500), and John C. Phillips, Jr., Phillips,

Goldman & Spence, P.A., 1200 North Broom Street, Wilmington, DE 19806-4204 (fax           302-655-

4210); (vii) the Office of the United States Trustee, Attn: Richard L. Schepacarter, 844 N. King

Street, Suite 2207, Wilmington, DE 19801 (fax 302-573-6497); and (viii) counsel to the

Asbestos PD Future Claimants’ Representative, Alan B. Rich, 4244 Renaissance Tower, 1201

Elm Street, Dallas, TX 75270 (fax 214-744-5101) and Karl Hill, Seitz, Van Ogtrop & Green,

P.A., 222 Delaware Avenue, Suite 1500, P.O. Box 68, Wilmington, DE 19899 (fax 302-888-

0606).

               IF NO OBJECTIONS ARE TIMELY FILED AND SERVED IN

ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT MAY GRANT THE

RELIEF REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.




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                     IN THE EVENT THAT ANY OBJECTION OR RESPONSE IS FILED AND

SERVED IN ACCORDANCE WITH THIS NOTICE, A HEARING ON THE MOTION WILL

BE HELD BEFORE THE HONORABLE KEVIN J. CAREY AT THE UNITED STATES

BANKRUPTCY COURT, 824 MARKET STREET, WILMINGTON, DELAWARE 19801, ON

JANUARY 29, 2014, AT 10:00 A.M. PREVAILING EASTERN TIME.

Dated: January          2014                   KIRKLAND & ELLIS LLP
                                               Adam Paul
                                               John Donley
                                               300 North LaSalle Street
                                               Chicago, IL 60654
                                               Telephone: (312) 862-2000
                                               Facsimile: (312) 862-2200


                                               and


                                               THE LAW OFFICES OF ROGER HIGGiNS, LLC
                                               Roger J. Higgins
                                               111 East Wacker Drive
                                               Suite 2800
                                               Chicago, IL 60601
                                               Telephone: (312) 836-4047

                                               and

                                               PACHULSKI STANG ZIEHL & JONES LLP

                                                /,a~          & loiu
                                               IJa Davis Jones (Bar No. 2436)
                                               Jahces E. O’Neill (Bar No. 4042)
                                               Timothy P. Cairns (Bar No. 4228)
                                               919 North Market Street, 17th Floor
                                               P.O. Box 8705
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                                               Telephone: (302) 652-4100
                                               Facsimile: (302) 652-4400

                                               Co-Counsel for the Debtors and Debtors-in- Possession

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